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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                 PLANO DIVISION

 UNITED STATES OF AMERICA,                       )      CRIMINAL ACTION NO.
                                                 )
                                                 )
 v.                                              )      4:16 CR 00176
                                                 )      (Judge Crone)
 JAMES BALAGIA,                                  )
          Defendant.                             )
                                                 )

           COUNSELS’ MOTION TO WITHDRAWAL - RE: DEFENDANT BALAGIA

       Counsels Kirk Lechtenberger and Michael Mowla file this Unopposed Motion to
 Withdrawal and would state the following:


 1.    Good cause exists for the withdrawal of undersigned counsels as counsel for

       Defendant.

 2.    Due to no fault of undersigned counsels, circumstances have arisen where they

       are unable to effectively communicate with Defendant in a manner consistent

       with good attorney-client relations.

 3.    Because additional information regarding the reason for this motion may

       implicate attorney-client communications, if the Court requires this additional

       information to show good cause, undersigned counsel request that they be

       allowed to submit the information: (1) by way of a sealed and ex parte filing; or

       (2) at an ex parte hearing at which only undersigned counsel, Defendant, the

       court reporter, court-security, and the Magistrate or District Judge are present.

 4.    The United States Attorney’s Office does not object to the relief requested in this

       motion.



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 5.    A copy of this motion will be delivered via Email and Letter to Defendant James

       Morris Balagia, who is notified in writing of his right to object to this motion. It is

       unknown if Defendant James Morris Balagia is opposed or unopposed to the

       motion. The last known street address and mailing address of Defendant James

       Morris Balagia is 15612 Littig Road, Manor, TX 78653.

 6.    The deadlines are:

           •   January 8, 2018, at 9:00 a.m.: Final Pretrial Conference on in Courtroom
               #105, United States Courthouse, 7940 Preston Road, Plano, Texas, Jury
               Selection and Trial will commence after the Pre-Trial Conference and
               continuing thereafter.

           •   December 4, 2017: Any motion to suppress evidence shall be filed with
               the court.

           •   December 18, 2017: Any motion for continuance shall be filed with the
               court.

           •   December 29, 2017: Counsel for the Government shall deliver to counsel
               for Defendant(s) proposed jury instructions.

           •   December 18, 2017 by 4:00 p.m.: Notification of a plea agreement shall
               be by email, hand delivery or fax of a signed copy of the plea agreement
               and factual basis for the plea. Notification that the case will proceed to trial
               may be by email or telephone. After this deadline, no plea agreement will
               be honored by the court, and Defendant may not receive a points
               reduction for acceptance of responsibility.

           •   January 2, 2018: If the parties do not notify the Court of a plea agreement
               as provided above, defense counsel shall deliver to counsel for the
               Government any additional jury instructions desired by Defendant(s). If
               two or more Defendants are represented by separate counsel, their
               submission must be made jointly.

           •   January 2, 2018: Counsel for Defendant(s) and counsel for the
               Government shall confer to determine which jury instructions can be
               agreed upon.

           •   January 2, 2018: Parties shall file any motions in limine and any other
               pretrial motions.


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           •   January 2, 2018: Counsel for the Government and counsel for the
               Defendant(s) shall: A. Jointly file agreed upon instructions; B. Each file
               any proposed instructions that were not agreed upon, citing the authority
               for each instruction. (Any party seeking to file proposed jury instructions
               after the deadline may do so only with leave of Court.); C. Each file any
               objections to the other’s proposed jury instructions. Objections must be
               written, specific, cite authority, and include any alternate instructions
               counsel deem more appropriate; D. Each file proposed voir dire questions;
               E. If counsel believes that a written response to a particular motion in
               limine is needed, file it as soon as possible; F. Each provide the court a list
               of witnesses, a list of exhibits anticipated to be introduced during trial, and
               a copy of each marked exhibit. All exhibits to be used for trial shall be pre-
               marked numerically and in succession. (Groups of exhibits pertaining to
               the same subject matter, such as photos of same scene, may, at
               counsel’s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.)
               Counsel shall provide the Court the original and two (2) copies of each list
               and marked exhibit.


 7.    This motion is made in good faith and not for purposes of delay.

 REQUEST
       Counsels ask that the Court GRANT this motion to withdraw as counsel for
 Defendant James Morris Balagia.
                                                  Respectfully Submitted,

                                                  By: /s/ Kirk F. Lechtenberger
                                                  KIRK F. LECHTENBERGER
                                                  Texas Bar No. 12072100

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                                                  /s/ Michael Mowla
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 CERTIFICATE OF SERVICE

       Counsel states that a true and correct copy of the Motion was delivered to the
 Court and counsel for the government listed below in the manner indicated.


 U.S. District Court Clerk                      ECF Delivery on 11/12/2017


 U.S. Attorney's Office
 And all Parties                                ECF Delivery on 11/12/2017


                                                By: /s/ Kirk F. Lechtenberger
                                                KIRK F. LECHTENBERGER


 CERTIFICATE OF CONFERENCE


 I, Kirk F. Lechtenberger, state as follows:
 In compliance with the Local Rule, a conference on the attached motion was conducted
 on or about 11/10/2017 via an EMAIL conversation between Counsel and the Assistant
 United States Attorney assigned to the case.


 AUSA IS UNOPPOSED;



 Dated:        11/12/2017

                                                By: /s/ Kirk F. Lechtenberger
                                                KIRK F. LECHTENBERGER




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